          Exhibit B

Trustee’s Liquidation Analysis
                                                                                           Exhibit B‐ Liquidation Analysis

   Wonderwork (1:16‐bk‐13607), Debtor
   Recoveries have been rounded to nearest $’000                          Restricted cash on hand would not be available to satisfy creditors of the Estate. 

   Assets                                                                                   RECOVERY NOTES
     Bank Balance, Cash                                                                    18,642,000 Trustee Bank Balance as of Apr 26, 2018.
      Restricted Funds Held By Trustee                                                  (15,929,000)
                                                                                                       Restricted Fund Balance as of April 26, 2018. 
       (Amount Subject to Exclusion)
                  Unrestricted Cash Balance for Distribution $           2,713,000 Implied Unrestricted Cash Balance as of April 26, 2018.
         Estimated Chapter 7 Trustee fees, and Chapter 7 legal and accounting fees.
   Ch. 7 Professional Liabilities

     Chapter 7 Professional Fees                                                              (528,000) Estimated Chapter 7 Trustee fees, and Chapter 7 legal and accounting fees.

                        Net Remaining Unrestricted Cash Balance $                          2,185,000
                                                                                                     Net Unrestricted Cash Available for Distribution after payment of Ch 7 Professional Fees

   Ch. 11 Professional Liabilities
     Chapter 11 Professional Fees                                                          (5,836,000) Professional Fees as settled by Ch 11. Trustee, where applicable.



                        Net Remaining Unrestricted Cash Balance $                 (3,651,000) Net Unrestricted Cash Available for Distribution after payment of Ch 11 Professional Fees

   Ch. 11 Filed Liabilities

        A.  Other Administrative Liabilities                                                    (7,000) Claim for Post‐Petition rent as settled by Ch 11. Trustee, Dkt. 401
        B. Priority Claims                                                                            ‐      New York State Department of Labor and Internal Revenue Service
        C.  Employee Claims (Priority)                                                         (21,000)
        D. Secured Claims                                                                             ‐
        E.  Arbitration/ Litigation Claims (Unsecured)                                   
                                                                                        (16,054,000)
        F.  Impact Loan Claims (Unsecured)                                                 (9,637,000)
        G. Other General Unsecured Claims                                                     (912,000) Unsecured claims as filed or as settled by Ch 11. Trustee
   Total Ch. 11 Filed Liabilities                                          $               (26,631,000)

                                               Net Recovery/(Shortfall) $               (30,282,000)




                                                                                                               Privileged Confidential
Wonderwork Liquidation Analysis (06‐12)                                                                                                                                                         6/15/2018
                                          Exhibit B‐ Liquidation Analysis
     Notes to Liquidation Analysis ‐ Wonderwork (1:16‐bk‐13607), Debtor
     ASSET or LIABILITY                        NOTES
1    Restricted Cash Held By Trustee           Restricted cash on hand would not be available to satisfy creditors of the 
                                               Estate. 

2    Unrestricted Cash Held By Trustee         Trustee bank balance as at April 29th, 2018, less Restricted Funds.

 3   Priority Taxes                            The Debtor qualifies as a 501(C)3 non‐profit organization.

4    Chapter 7 Professional Fees               Estimated Chapter 7 Trustee fees, and Chapter 7 legal and accounting fees.


5    Chapter 11 Professional Fees              Includes existing unpaid Chapter 11 professional fee amounts included in 
                                               filed fee applications, plus an estimate for all anticipated Chapter 11 
                                               Trustee professional fees.  Chapter 11 Trustee fees are calculated as 3% of 
                                               cash transferred to Chapter 7 Trustee.
6    Chapter 11 Priority Claims                The recovery assumes that all filed proof's of claim will be allowed, unless 
                                               already resolved by the Ch. 11 Trustee.  With respect to Claim No. 8.01, the 
                                               recovery assumes that given the Debtor is a 501(C)3 organization they will 
                                               be exempt from the IRS tax obligation for 2011 and 2016. 


7    Chapter 11 Impact Claims (Unsecured)      The recovery assumes that all filed proof's of claim will be allowed as filed.




8    Chapter 11 Unsecured Claims               The recovery assumes that all filed proof's of claim will be allowed, unless 
                                               already resolved by the Ch. 11 Trustee.  The recovery assumes that Claim 
                                               No. 9, for Corporate Press, is resolved by objection for being a duplicate 
                                               claim of Claim No. 20.  Further, it is assumed that Claim No. 2, for Wells 
                                               Fargo Financial Leasing, is resolved by objection for No Liability based on 
                                               the notice of abandonment issued by the creditor.  Lastly, the recovery 
                                               assumes that Claim No 11‐02, as asserted by 411 Fifth Avenue Associates, 
                                               is resolved based on the landlord settlement agreement.




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Wonderwork Liquidation Analysis (06‐12)                                                                               6/15/2018
